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     Exhibit 9

    United States District Court, District of Maryland
    Carrasco v. M&T Bank
    Case No.: 1:21-cv-00532




      Summary
      ▪ Amerisave Mortgage Corporation – Credit Score Disclosure (Date 7/16/2021)
          – This is a credit score disclosure report which is the source for the pre-defamation FICO scores of the
            plaintiff as shown in the original verified Complaint filed with this court on March 2, 2021. This is an
            original source document which evidences the degradation caused by information furnished by the
            Defendant M&T, in association with the line of credit opened on 7/17/2021.




Official Evidence Filed by Plaintiff – Original copies are available for inspection upon request during trial or other pre-trial conferences.

Submitted: 3/23/2021
                       Case 1:21-cv-00532-SAG Document 15-4 Filed 03/23/21 Page 2 of 3
                     AMERISAVE MORTGAGE CORPORATION
                     3525 PIEDMONT RD NE 8 PIEDMONT CENTER STE 600
                     ATLANTA GA 30305



                     07/16/2020


                     BRYCE O CARRASCO
                     100 E REDWOOD ST APT 2013
                 f
                 8
                     BALTIMORE MD 21202-1361

                     I, ,I, I, II II, ,I, Ill,, .. ,I, 1... 11, ,II 11ll 1111111, .. 11, ,I I,I,, I,I




    NOTICE TO HOME LOAN APPLICANT



      In connection with your application for a home loan, the lender must disclose to you the score that a consumer
      reporting agency distributed to users and the lender used in connection with your home loan, and the key factors
       affecting your credit scores.

       The credit score is a computer generated summary calculated at the time of the request and based on information
       that a consumer reporting agency or lender has on file. The scores are based on data about your credit history and
       payment patterns. Credit scores are important because they are used to assist the lender in determining whether
       you will obtain a loan. They may also be used to determine what interest rate you may be offered on the mortgage.
        Credit scores can change over time, depending on your conduct, how your credit history and payment patterns
        change, and how credit scoring technologies change.

       Because the score is based on information in your credit history, it is very important that you review the
       credit-related information that is being furnished to make sure it is accurate. Credit records may vary from one
       company to another.

      If you have questions about your credit score or the credit information that is furnished to you, contact the
     consumer reporting agency at the address and telephone number provided with this notice, or contact the lender, if
     the lender developed or generated the credit score. The consumer reporting agency plays no part in the decision to
    take any action on the loan application and is unable to provide you with specific reasons for the decision on a loan
  _ applis;ation.                                                         _ _        _

     If you have questions concerning the terms of the loan, contact the lender.




                                                                                      CREDIT SCORE DISCLOSURE
)042 28-002708
           Case 1:21-cv-00532-SAG
          AMERISAVE MORTGAGE CORPORATION                Document 15-4 Filed 03/23/21 Page 3 of 3
          ORDER NUMBER: NVA6C9                                       DATE ORDERED: 07/16'2020
          CONSUMER REPORTING AGENCY:                                 REPORT PREPARED FOR:

         Equifax Mortgage Solutions                                 AMERISAVE MORTGAGE CORPORATION
         4300 Westown Pkwy, Suite 200,                              3525 PIEDMONT RD NE 8 PIEDMONT CENTER STE
         West Des Moines, IA 50266                                  600
         (800) 333-0037                                             ATLANTA, GA 30305
                                                                    PHONE: 866-970-7283
         BORROWER'S INFORMATION:
         NAME: BRYCE OCARRASCO


                                     Your Credit Score and the Price You Pay For Credit



         score
                                         Source: EQUIFAX BEACON 5.0              Date 07/16/2020
                                         FACTA
        Your Experian credit             Score: 0716
        score
                                         Source: EXPERIAN FAIR ISAAC V2          Date 07/16/2020
       Your Trans Union                  Score: 00701
       credit score
                                         Source: TRANS UNION FICO RISK           Date 07/16/2020
                                         SCORE CLASSIC 04
       Understanding Your Credit Score

       What you should know              Your credit score is a number that reflects the information in your credit
       about credit scores               report.

                                         Your credit report is a record of your credit history. It includes information
                                         about whether you pay your bills on time and how much you owe to
                                         creditors.
                                         Your credit score can change, depending on how your credit history
                                         changes.
          How we use your credit Your credit score can affect whether you can get a loan and how much
          score                          you will have to pay for that loan.
          The range of scores            EQUIFAX BEACON 5.0 FACTA: Scores range from a low of 334 to a high
                                         of 818.
                                         EXPERIAN FAIR ISAAC V2: Scores range from a low of 320 to a high of
                                         844.
                                         TRANS UNION FICO RISK SCORE CLASSIC 04: Scores range from a
                                         low of 309 to a high of 839.
                                         Generally, the higher your score, the more likely you are to be offered
                                         better credit terms.




                                                       CREDIT SCORE DISCLOSURE
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